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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                                                                 CASE NO.: 12-36206-BKC-LMI
                                                               PROCEEDING UNDER CHAPTER 13

IN RE:

MARTHA PEREZ

_____________________________/
DEBTOR

         NOTICE CONTINUING DEBTOR'S MOTION TO MODIFY CONFIRMED PLAN

   YOU ARE HEREBY NOTIFIED that the Debtor's Motion to Modify Confirmed Plan has been
continued to November 07, 2017 at 9:00 AM at UNITED STATES BANKRUPTCY COURT, C.
CLYDE ATKINS UNITED STATES COURTHOUSE, 301 NORTH MIAMI AVENUE,
COURTROOM 8, MIAMI, FL 33128.

  I HEREBY CERTIFY that a true and correct copy of the foregoing Notice Continuing Debtor's
Motion to Modify Confirmed Plan was mailed to those parties listed on this 17th day of October, 2017.



                                                      _____________________________________
                                                       /s/ Nancy K. Neidich
                                                       NANCY K. NEIDICH, ESQUIRE
                                                       STANDING CHAPTER 13 TRUSTEE
                                                       P.O. BOX 279806
                                                       MIRAMAR, FL 33027-9806
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                                   NOTICE CONTINUING DEBTOR'S MOTION TO MODIFY CONFIRMED PLAN
                                                                       CASE NO.: 12-36206-BKC-LMI

                                    SERVICE LIST

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

DEBTOR
MARTHA PEREZ
14634 SW 128TH COURT RD
MIAMI, FL 33186

ATTORNEY FOR DEBTOR
CAROLINA A. LOMBARDI, ESQUIRE
LEGAL SERV. OF GREATER MIAMI
4343 W FLAGLER STREET
SUITE 100
MIAMI, FL 33134

CAROLINA A. LOMBARDI, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY
OF THIS NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON
RECEIPT THEREOF.
